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 1    MARK BRNOVICH
      ATTORNEY GENERAL
 2    (Firm State Bar No. 14000)
 3
      Brunn (Beau) W. Roysden III (No. 28698)
 4    Michael S. Catlett (No. 25238)
 5    Kate B. Sawyer (No. 34264)
      Katlyn J. Divis (No. 35583)
 6    2005 N. Central Ave.
 7    Phoenix, AZ 85004-1592
      Telephone: (602) 542-3333
 8    Michael.Catlett@azag.gov
 9
      Attorneys for Defendant Mark Brnovich in
10    his official capacity as Arizona Attorney
      General
11
12
                               UNITED STATES DISTRICT COURT
13                                 DISTRICT OF ARIZONA
14
     Paul A. Isaacson, M.D., on behalf of
15   himself and his patients, et al.,
                                                  Case No. 2:21-cv-01417-DLR
16           Plaintiffs,
17          v.
                                                  DEFENDANT ATTORNEY
     Mark Brnovich, Attorney General of           GENERAL BRNOVICH’S ANSWER
18
     Arizona, in his official capacity, et al.,   TO PLAINTIFFS’ COMPLAINT FOR
19                                                DECLARATORY AND INJUNCTIVE
              Defendants.                         RELIEF
20
21
                                                  (Assigned to the Hon. Douglas L. Rayes)
22
23
24
25
26
27
28
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 1           Defendant Mark Brnovich, in his official capacity as Arizona Attorney General
 2    (“Defendant”), through undersigned counsel, hereby answers Plaintiffs’ Complaint for
 3    Declaratory and Injunctive Relief (“Complaint”) as follows:
 4    I.   PRELIMINARY STATEMENT
 5           1.     Responding to Paragraph 1 of the Complaint, Defendant denies the
 6    allegations contained therein.
 7           2.     Responding to Paragraph 2 of the Complaint, Defendant denies the
 8    allegations contained therein.
 9           3.     Responding to Paragraph 3 of the Complaint, Defendant denies the
10    allegations contained therein.
11           4.     Responding to Paragraph 4 of the Complaint, Defendant denies the
12    allegations contained therein.
13           5.     Responding to Paragraph 5 of the Complaint, Defendant denies the
14    allegations contained therein.
15           6.     Responding to Paragraph 6 of the Complaint, Defendant denies the
16    allegations contained therein.
17           7.     Responding to Paragraph 7 of the Complaint, Defendant denies the
18    allegations contained therein.
19           8.     Responding to Paragraph 8 of the Complaint, Defendant affirmatively
20    alleges that the statutes cited therein are the best evidence of their contents. Further
21    responding to Paragraph 8, Defendant denies the allegations contained therein.
22           9.     Responding to Paragraph 9 of the Complaint, Defendant denies the
23    allegations contained therein.
24   II.   JURISDICTION AND VENUE
25           10.    Responding to Paragraph 10 of the Complaint, Defendant denies the
26    allegations contained therein.
27           11.    Responding to Paragraph 11 of the Complaint, Defendant denies the
28    allegations contained therein.



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 1
              12.    Responding to Paragraph 12 of the Complaint, Defendant admits only that,
 2
       if the Court has jurisdiction to decide the claims contained in the Complaint, venue is
 3
       proper in the District of Arizona.
 4
     III.   PARTIES
 5            13.    Responding to Paragraph 13 of the Complaint, Defendant is without
 6     sufficient information or knowledge to form a belief about the truth of the allegations
 7     contained therein, and therefore Defendant denies those allegations.
 8            14.    Responding to Paragraph 14 of the Complaint, Defendant is without
 9     sufficient information or knowledge to form a belief about the truth of the allegations
10     contained therein, and therefore Defendant denies those allegations.
11            15.    Responding to Paragraph 15 of the Complaint, Defendant is without
12     sufficient information or knowledge to form a belief about the truth of the allegations
13     contained therein, and therefore Defendant denies those allegations.
14            16.    Responding to Paragraph 16 of the Complaint, Defendant is without
15     sufficient information or knowledge to form a belief about the truth of the allegations
16     contained therein, and therefore Defendant denies those allegations.
17            17.    Responding to Paragraph 17 of the Complaint, Defendant denies the
18     allegations contained therein.
19            18.    Responding to Paragraph 18 of the Complaint, Defendant is without
20     sufficient information or knowledge to form a belief about the truth of the allegations
21     contained therein, and therefore Defendant denies those allegations.
22            19.    Responding to Paragraph 19 of the Complaint, Defendant is without
23     sufficient information or knowledge to form a belief about the truth of the allegations
24     contained therein, and therefore Defendant denies those allegations.
25            20.    Responding to Paragraph 20 of the Complaint, Defendant admits that Mark
26     Brnovich is the Attorney General of the State of Arizona, whose authority generally is
27     defined by statute. Defendant affirmatively alleges that the statutes cited in Paragraph 20
28     are the best evidence of their contents. To the extent any further response is required to



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 1
     the allegations contained in Paragraph 20, Defendant denies them.
 2
            21.    Responding to Paragraph 21 of the Complaint, Defendant admits that
 3
     Michael Whiting, Brian McIntyre, William Ring, Bradley Beauchamp, Scott Bennett,
 4
     Jeremy Ford, Tony Rogers, Allister Adel, Matthew Smith, Brad Carlyon, Laura Conover,
 5
     Kent Volkmer, George Silva, Sheila Polk, Jon Smith were County Attorneys for Arizona
 6
     at the time the Complaint was filed. Defendant affirmatively alleges that the statutes cited
 7
     in Paragraph 21 are the best evidence of their contents. To the extent any further response
 8
     is required to the allegations contained in Paragraph 21, Defendant denies them
 9
            22.    Responding to Paragraph 22 of the Complaint, Defendant admits that the
10
     Arizona Medical Board is a state agency. Defendant affirmatively alleges that the statutes
11
     cited in Paragraph 22 are the best evidence of their contents. To the extent any further
12
     response is required to the allegations contained in Paragraph 22, Defendant denies them.
13
            23.    Responding to Paragraph 23 of the Complaint, Defendant admits that Patricia
14
     McSorley is the Executive Director of the Arizona Medical Board.                  Defendant
15
     affirmatively alleges that the statutes cited in Paragraph 23 are the best evidence of their
16
     contents. To the extent any further response is required to the allegations contained in
17
     Paragraph 23, Defendant denies them.
18
            24.    Responding to Paragraph 24 of the Complaint, Defendant admits that R.
19
     Screven Farmer, M.D.; James M. Gillard, M.D.; Lois Krahn, M.D.; Jodi A. Bain M.A.,
20
     J.D.; Bruce Bethancourt, M.D.; David C. Beyer, M.D.; Laura Dorrell, M.S.N., R.N.; Gary
21
     Figge, M.D.; Pamela E. Jones; and Eileen M. Oswald, M.P.H., were members of the
22
     Arizona Medical Board at the time the Complaint was filed.
23
            25.    Responding to Paragraph 25 of the Complaint, Defendant affirmatively
24
     alleges that the statutes cited in Paragraph 25 are the best evidence of their contents. To
25
     the extent any further response is required to the allegations contained in Paragraph 25,
26
     Defendant denies them.
27
            26.    Responding to Paragraph 26 of the Complaint, Defendant affirmatively
28
     alleges that the statutes cited in Paragraph 26 are the best evidence of their contents and



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 1
      speak for themselves. To the extent any further response is required to the allegations
 2
      contained in Paragraph 26, Defendant denies them.
 3
     IV.   THE CHALLENGED LAWS
 4           27.    Responding to Paragraph 27 of the Complaint, Defendant admits the factual
 5    allegations contained therein.
 6           28.    Responding to Paragraph 28 of the Complaint, Defendant denies the
 7    allegations contained therein.
 8           29.    Responding to Paragraph 29 of the Complaint, Defendant admits that
 9    Plaintiffs partially quote S.B. 1457. Defendant affirmatively alleges that S.B. 1457 is the
10    best evidence of its contents. To the extent any further response is required to the
11    allegations contained in Paragraph 29, Defendant denies them.
12           30.    Responding to Paragraph 30 of the Complaint, Defendant admits that
13    Plaintiffs partially quote S.B. 1457 § 2, which amends A.R.S. § 13-3603.02. Defendant
14    affirmatively alleges that the laws cited in Paragraph 30 are the best evidence of their
15    contents. To the extent any further response is required to the allegations contained in
16    Paragraph 30, Defendant denies them.
17           31.    Responding to Paragraph 31 of the Complaint, Defendant denies the
18    allegations contained therein.
19           32.    Responding to Paragraph 32 of the Complaint, Defendant admits that
20    Plaintiffs partially quote S.B. 1457 § 2. Defendant affirmatively alleges that the laws cited
21    in Paragraph 32 are the best evidence of their contents. To the extent any further response
22    is required to the allegations contained in Paragraph 32, Defendant denies them.
23           33.    Responding to Paragraph 33 of the Complaint, Defendant admits that
24    Plaintiffs partially quote S.B. 1457 § 10. Defendant affirmatively alleges that the laws
25    cited in Paragraph 33 are the best evidence of their contents. To the extent any further
26    response is required to the allegations contained in Paragraph 33, Defendant denies them.
27           34.    Responding to Paragraph 34 of the Complaint, Defendant admits that
28    Plaintiffs partially quote S.B. 1457 § 2. Defendant affirmatively alleges that the laws cited



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 1
     in Paragraph 34 are the best evidence of their contents. To the extent any further response
 2
     is required to the allegations contained in Paragraph 34, Defendant denies them.
 3
            35.    Responding to Paragraph 35 of the Complaint, Defendant admits that
 4
     Plaintiffs partially quote S.B. 1457 § 2. Defendant affirmatively alleges that the laws cited
 5
     in Paragraph 35 are the best evidence of their contents. To the extent any further response
 6
     is required to the allegations contained in Paragraph 35, Defendant denies them.
 7
            36.    Responding to Paragraph 36 of the Complaint, Defendant admits that
 8
     Plaintiffs partially quote S.B. 1457 § 11. Defendant affirmatively alleges that the laws
 9
     cited in Paragraph 36 are the best evidence of their contents. To the extent any further
10
     response is required to the allegations contained in Paragraph 36, Defendant denies them.
11
            37.    Responding to Paragraph 37 of the Complaint (including footnote 3),
12
     Defendant admits that Plaintiffs partially quote S.B. 1457 § 13. Defendant affirmatively
13
     alleges that the laws cited in Paragraph 37 are the best evidence of their contents. To the
14
     extent any further response is required to the allegations contained in Paragraph 37,
15
     Defendant denies them.
16
            38.    Responding to Paragraph 38 of the Complaint (including footnote 4),
17
     Defendant affirmatively alleges that the laws cited in Paragraph 38 are the best evidence
18
     of their contents. To the extent any further response is required to the allegations contained
19
     in Paragraph 38, Defendant denies them.
20
            39.    Responding to Paragraph 39 of the Complaint, Defendant admits that
21
     Plaintiffs partially quote the A.R.S. Defendant affirmatively alleges that the laws cited in
22
     Paragraph 39 are the best evidence of their contents. To the extent any further response is
23
     required to the allegations contained in Paragraph 39, Defendant denies them.
24
            40.    Responding to Paragraph 40 of the Complaint, Defendant admits that
25
     Plaintiffs partially quote the A.R.S. Defendant affirmatively alleges that the statutes cited
26
     in Paragraph 40 are the best evidence of their contents. To the extent any further response
27
     is required to the allegations contained in Paragraph 40, Defendant denies them.
28




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 1
            41.    Responding to Paragraph 41 of the Complaint, Defendant admits that
 2
     Plaintiffs partially quote S.B. 1457 § 1. Defendant affirmatively alleges that the laws cited
 3
     in Paragraph 41 are the best evidence of their contents. To the extent any further response
 4
     is required to the allegations contained in Paragraph 41, Defendant denies them.
 5
            42.    Responding to Paragraph 42 of the Complaint, Defendant admits that
 6
     Plaintiffs partially quote the A.R.S. Defendant affirmatively alleges that the laws cited in
 7
     Paragraph 42 are the best evidence of their contents. To the extent any further response is
 8
     required to the allegations contained in Paragraph 42, Defendant denies them.
 9
            43.    Responding to Paragraph 43 of the Complaint, Defendant admits that
10
     Plaintiffs partially quote S.B. 1457 § 1. Defendant affirmatively alleges that the laws cited
11
     in Paragraph 43 are the best evidence of their contents. To the extent any further response
12
     is required to the allegations contained in Paragraph 43, Defendant denies them.
13
     V.   FACTUAL ALLEGATIONS
14          44.    Responding to Paragraph 44 of the Complaint, Defendant admits that
15   Plaintiffs partially quote S.B. 1457 § 2. Defendant affirmatively alleges that the laws cited
16   in Paragraph 44 are the best evidence of their contents. To the extent any further response
17   is required to the allegations contained in Paragraph 44, Defendant denies them.
18          45.    Responding to Paragraph 45 of the Complaint, Defendant is without
19   sufficient knowledge to form a belief about the truth of the allegations contained therein,
20   and therefore Defendant denies those allegations.
21          46.    Responding to Paragraph 46 of the Complaint, Defendant is without
22   sufficient knowledge to form a belief about the truth of the allegations contained therein,
23   and therefore Defendant denies those allegations.
24          47.    Responding to Paragraph 47 of the Complaint, Defendant is without
25   sufficient knowledge to form a belief about the truth of the allegations contained therein,
26   and therefore Defendant denies those allegations.
27
28




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 1
            48.    Responding to Paragraph 48 of the Complaint, Defendant is without
 2
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
 3
     and therefore Defendant denies those allegations.
 4
            49.    Responding to Paragraph 49 of the Complaint, Defendant is without
 5
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
 6
     and therefore Defendant denies those allegations.
 7
            50.    Responding to Paragraph 50 of the Complaint, Defendant is without
 8
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
 9
     and therefore Defendant denies those allegations.
10
            51.    Responding to Paragraph 51 of the Complaint, Defendant is without
11
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
12
     and therefore Defendant denies those allegations.
13
            52.    Responding to Paragraph 52 of the Complaint, Defendant is without
14
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
15
     and therefore Defendant denies those allegations.
16
            53.    Responding to Paragraph 53 of the Complaint, Defendant is without
17
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
18
     and therefore Defendant denies those allegations.
19
            54.    Responding to Paragraph 54 of the Complaint, Defendant is without
20
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
21
     and therefore Defendant denies those allegations.
22
            55.    Responding to Paragraph 55 of the Complaint, Defendant is without
23
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
24
     and therefore Defendant denies those allegations.
25
            56.    Responding to Paragraph 56 of the Complaint, Defendant is without
26
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
27
     and therefore Defendant denies those allegations.
28




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 1
            57.    Responding to Paragraph 57 of the Complaint, Defendant is without
 2
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
 3
     and therefore Defendant denies those allegations.
 4
            58.    Responding to Paragraph 58 of the Complaint, Defendant denies the
 5
     allegations contained therein.
 6
            59.    Responding to Paragraph 59 of the Complaint, Defendant admits that
 7
     Plaintiffs partially quote S.B. 1457 § 1. Defendant affirmatively alleges that the laws cited
 8
     in Paragraph 59 are the best evidence of their contents. Further responding to Paragraph
 9
     59, Defendant denies the allegations contained therein.
10
            60.    Responding to Paragraph 60 of the Complaint, Defendant is without
11
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
12
     and therefore Defendant denies those allegations.
13
            61.    Responding to Paragraph 61 of the Complaint, Defendant is without
14
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
15
     and therefore Defendant denies those allegations.
16
            62.    Responding to Paragraph 62 of the Complaint, Defendant is without
17
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
18
     and therefore Defendant denies those allegations.
19
            63.    Responding to Paragraph 63 of the Complaint (including footnote 5),
20
     Defendant is without sufficient knowledge to form a belief about the truth of the allegations
21
     contained therein, and therefore Defendant denies those allegations.
22
            64.    Responding to Paragraph 64 of the Complaint, Defendant is without
23
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
24
     and therefore Defendant denies those allegations.
25
            65.    Responding to Paragraph 65 of the Complaint, Defendant is without
26
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
27
     and therefore Defendant denies those allegations.
28




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 1
            66.    Responding to Paragraph 66 of the Complaint, Defendant is without
 2
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
 3
     and therefore Defendant denies those allegations.
 4
            67.    Responding to Paragraph 67 of the Complaint (including footnote 6),
 5
     Defendant is without sufficient knowledge to form a belief about the truth of the allegations
 6
     contained therein, and therefore Defendant denies those allegations.
 7
            68.    Responding to Paragraph 68 of the Complaint (including footnotes 7, 8, 9,
 8
     and 10), Defendant is without sufficient knowledge to form a belief about the truth of the
 9
     allegations contained therein, and therefore Defendant denies those allegations.
10
            69.    Responding to Paragraph 69 of the Complaint, Defendant is without
11
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
12
     and therefore Defendant denies those allegations.
13
            70.    Responding to Paragraph 70 of the Complaint, Defendant is without
14
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
15
     and therefore Defendant denies those allegations.
16
            71.    Responding to Paragraph 71 of the Complaint, Defendant is without
17
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
18
     and therefore Defendant denies those allegations.
19
            72.    Responding to Paragraph 72 of the Complaint, Defendant is without
20
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
21
     and therefore Defendant denies those allegations.
22
            73.    Responding to Paragraph 73 of the Complaint, Defendant is without
23
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
24
     and therefore Defendant denies those allegations.
25
            74.    Responding to Paragraph 74 of the Complaint, Defendant is without
26
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
27
     and therefore Defendant denies those allegations.
28




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 1
            75.    Responding to Paragraph 75 of the Complaint, Defendant denies the
 2
     allegations contained therein.
 3
            76.    Responding to Paragraph 76 of the Complaint, Defendant denies the
 4
     allegations contained therein.
 5
            77.    Responding to Paragraph 77 of the Complaint, Defendant denies the
 6
     allegations contained therein.
 7
            78.    Responding to Paragraph 78 of the Complaint, Defendant denies the
 8
     allegations contained therein.
 9
            79.    Responding to Paragraph 79 of the Complaint, Defendant denies the
10
     allegations contained therein.
11
            80.    Responding to Paragraph 80 of the Complaint, Defendant denies the
12
     allegations contained therein.
13
            81.    Responding to Paragraph 81 of the Complaint, Defendant denies the
14
     allegations contained therein.
15
            82.    Responding to Paragraph 82 of the Complaint, Defendant denies the
16
     allegations contained therein.
17
            83.    Responding to Paragraph 83 of the Complaint, Defendant denies the
18
     allegations contained therein.
19
            84.    Responding to Paragraph 84 of the Complaint, Defendant denies the
20
     allegations contained therein.
21
            85.    Responding to Paragraph 85 of the Complaint, Defendant denies the
22
     allegations contained therein.
23
            86.    Responding to Paragraph 86 of the Complaint, Defendant denies the
24
     allegations contained therein.
25
            87.    Responding to Paragraph 87 of the Complaint, Defendant denies the
26
     allegations contained therein.
27
            88.    Responding to Paragraph 88 of the Complaint, Defendant denies the
28
     allegations contained therein.



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 1
            89.    Responding to Paragraph 89 of the Complaint, Defendant is without
 2
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
 3
     and therefore Defendant denies those allegations.
 4
            90.    Responding to Paragraph 90 of the Complaint, Defendant denies the
 5
     allegations contained therein.
 6
            91.    Responding to Paragraph 91 of the Complaint, Defendant denies the
 7
     allegations contained therein.
 8
            92.    Responding to Paragraph 92 of the Complaint, Defendant denies the
 9
     allegations contained therein.
10
            93.    Responding to Paragraph 93 of the Complaint, Defendant denies the
11
     allegations contained therein.
12
            94.    Responding to Paragraph 94 of the Complaint, Defendant admits that
13
     Plaintiffs partially quote the A.R.S. Defendant affirmatively alleges that the statutes cited
14
     in Paragraph 94 are the best evidence of their contents. Further responding to Paragraph
15
     94, Defendant denies the allegations contained therein.
16
            95.    Responding to Paragraph 95 of the Complaint, Defendant is without
17
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
18
     and therefore Defendant denies those allegations.
19
            96.    Responding to Paragraph 96 of the Complaint, Defendant denies the
20
     allegations contained therein.
21
            97.    Responding to Paragraph 97 of the Complaint, Defendant admits that
22
     Plaintiffs partially quote S.B. 1457 § 1. Defendant affirmatively alleges that the laws cited
23
     in Paragraph 97 are the best evidence of their contents. To the extent any further response
24
     is required to the allegations contained in Paragraph 97, Defendant denies them.
25
            98.    Responding to Paragraph 98 of the Complaint, Defendant denies the
26
     allegations contained therein.
27
            99.    Responding to Paragraph 99 of the Complaint, Defendant admits that
28
     Plaintiffs partially quote S.B. 1457 § 1. Defendant affirmatively alleges that the laws cited



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 1
     in Paragraph 99 are the best evidence of their contents. Further responding to Paragraph
 2
     99, Defendant denies the allegations contained therein.
 3
            100.   Responding to Paragraph 100 of the Complaint, Defendant denies the
 4
     allegations contained therein.
 5
            101.   Responding to Paragraph 101 of the Complaint, Defendant denies the
 6
     allegations contained therein.
 7
            102.   Responding to Paragraph 102 of the Complaint, Defendant admits that
 8
     Plaintiffs partially quote the A.R.S. Defendant affirmatively alleges that the laws cited in
 9
     Paragraph 102 are the best evidence of their contents. Further responding to Paragraph
10
     102, Defendant denies the allegations contained therein.
11
            103.   Responding to Paragraph 103 of the Complaint, Defendant denies the
12
     allegations contained therein.
13
            104.   Responding to Paragraph 104 of the Complaint, Defendant admits that
14
     Plaintiffs partially quote S.B. 1457 § 1. Defendant affirmatively alleges that the laws cited
15
     in Paragraph 104 are the best evidence of their contents. Further responding to Paragraph
16
     104, Defendant denies the allegations contained therein.
17
            105.   Responding to Paragraph 105 of the Complaint, Defendant admits that
18
     Plaintiffs partially quote S.B. 1457 § 1. Defendant affirmatively alleges that the laws cited
19
     in Paragraph 105 are the best evidence of their contents. Further responding to Paragraph
20
     105, Defendant denies the allegations contained therein.
21
            106.   Responding to Paragraph 106 of the Complaint, Defendant admits that
22
     Plaintiffs partially quote the A.R.S. Defendant affirmatively alleges that the laws cited in
23
     Paragraph 106 are the best evidence of their contents. Further responding to Paragraph
24
     106, Defendant denies the allegations contained therein.
25
            107.   Responding to Paragraph 107 of the Complaint, Defendant denies the
26
     allegations contained therein.
27
            108.   Responding to Paragraph 108 of the Complaint, Defendant denies the
28
     allegations contained therein.



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 1
            109.   Responding to Paragraph 109 of the Complaint, Defendant denies the
 2
     allegations contained therein.
 3
            110.   Responding to Paragraph 110 of the Complaint, Defendant denies the
 4
     allegations contained therein.
 5
            111.   Responding to Paragraph 111 of the Complaint, Defendant is without
 6
     sufficient knowledge to form a belief about the truth of the allegations contained therein,
 7
     and therefore Defendant denies those allegations.
 8
            112.   Responding to Paragraph 112 of the Complaint, Defendant denies the
 9
     allegations contained therein.
10
            113.   Responding to Paragraph 113 of the Complaint, Defendant denies the
11
     allegations contained therein.
12
            114.   Responding to Paragraph 114 of the Complaint, Defendant denies the
13
     allegations contained therein.
14
            115.   Responding to Paragraph 115 of the Complaint, Defendant denies the
15
     allegations contained therein.
16
                                            COUNT I
17
            116.   Defendant incorporates Paragraphs 1–115 as if fully set forth herein.
18
            117.   Responding to Paragraph 117 of the Complaint, Defendant denies the
19
     allegations contained therein.
20
            118.   Responding to Paragraph 118 of the Complaint, Defendant denies the
21
     allegations contained therein.
22
                                            COUNT II
23
            119.   Defendant incorporates Paragraphs 1–118 as if fully set forth herein.
24
            120.   Responding to Paragraph 120 of the Complaint, Defendant denies the
25
     allegations contained therein.
26
            121.   Responding to Paragraph 121 of the Complaint, Defendant denies the
27
     allegations contained therein.
28




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 1
                                           COUNT III
 2
            122.   Defendant incorporates Paragraphs 1–121 as if fully set forth herein.
 3
            123.   Responding to Paragraph 123 of the Complaint, Defendant denies the
 4
     allegations contained therein.
 5
            124.   Responding to Paragraph 124 of the Complaint, Defendant denies the
 6
     allegations contained therein.
 7
            125.   Responding to Paragraph 125 of the Complaint, Defendant denies the
 8
     allegations contained therein.
 9
            126.   Responding to Paragraph 126 of the Complaint, Defendant denies the
10
     allegations contained therein.
11
                                           COUNT IV
12
            127.   Defendant incorporates Paragraphs 1–126 as if fully set forth herein.
13
            128.   Responding to Paragraph 128 of the Complaint, Defendant denies the
14
     allegations contained therein.
15
            129.   Responding to Paragraph 129 of the Complaint, Defendant denies the
16
     allegations contained therein.
17
                                            COUNT V
18
            130.   Defendant incorporates Paragraphs 1–129 as if fully set forth herein.
19
            131.   Responding to Paragraph 131 of the Complaint, Defendant denies the
20
     allegations contained therein.
21
            132.   Responding to Paragraph 132 of the Complaint, Defendant denies the
22
     allegations contained therein.
23
            133.   Responding to Paragraph 133 of the Complaint, Defendant denies the
24
     allegations contained therein.
25
            134.   Responding to Paragraph 134 of the Complaint, Defendant denies the
26
     allegations contained therein.
27
                                           COUNT VI
28
            135.   Defendant incorporates Paragraphs 1–134 as if fully set forth herein.



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 1
            136.   Responding to Paragraph 136 of the Complaint, Defendant denies the
 2
     allegations contained therein.
 3
            137.   Responding to Paragraph 137 of the Complaint, Defendant denies the
 4
     allegations contained therein.
 5
            138.   Responding to Paragraph 138 of the Complaint, Defendant denies the
 6
     allegations contained therein.
 7
                                        GENERAL DENIAL
 8
            139.   Defendant denies each and every allegation in Plaintiffs’ Complaint that is
 9
     not expressly admitted herein.
10
                      REQUEST FOR ATTORNEYS’ FEES AND COSTS
11
            140.   Defendant hereby requests an award of their attorneys’ fees and costs
12
     pursuant to A.R.S. §§ 12-341, 12-1840, 12-348.01.
13
                                   AFFIRMATIVE DEFENSES
14
            141.   Plaintiffs’ Complaint fails, in whole or in part, for failure to state a claim
15
     upon which relief may be granted.
16
            142.   Plaintiffs’ Complaint fails, in whole or in part, for lack of standing.
17
            143.   Plaintiffs’ Complaint fails, in whole or in part, because the claims contained
18
     therein are not ripe.
19
            144.   Plaintiffs’ claim for injunctive relief fails because Plaintiffs cannot
20
     demonstrate that they will suffer irreparable harm in the absence of such an injunction.
21
            145.   Plaintiffs’ claim for injunctive relief fails because Plaintiffs cannot
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     demonstrate that such relief is in the public interest.
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     Case 2:21-cv-01417-DLR Document 103 Filed 03/17/22 Page 17 of 18




 1
     RESPECTFULLY SUBMITTED this 17th day of March, 2022.
 2
 3                                     MARK BRNOVICH
                                       ATTORNEY GENERAL
 4
 5                                     By /s/ Michael S. Catlett
                                       Brunn W. Roysden III (No. 28698)
 6
                                       Michael S. Catlett (No. 25238)
 7                                     Kate B. Sawyer (No. 34264)
                                       Katlyn J. Divis (No. 35583)
 8                                     Office of the Arizona Attorney General
 9                                     2005 N. Central Ave.
                                       Phoenix, Arizona 85004
10                                     Telephone: (602) 542-3333
11                                     Fax: (602) 542-8308
                                       Beau.Roysden@azag.gov
12                                     Michael.Catlett@azag.gov
13                                     Kate.Sawyer@azag.gov
                                       Katlyn.Divis@azag.gov
14
15                                     Attorneys for Defendant Mark Brnovich in his
                                       official capacity as Arizona Attorney General
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     Case 2:21-cv-01417-DLR Document 103 Filed 03/17/22 Page 18 of 18




 1
                                 CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 17th day of March, 2022, I electronically filed the
 3
 4   foregoing with the Clerk of the Court for the United States District Court for the District
 5   of Arizona using the CM/ECF filing system. Counsel for all parties are registered
 6
     CM/ECF users and will be served by the CM/ECF system pursuant to the notice of
 7
 8   electronic filing.

 9
10                                              /s/ Michael S. Catlett
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